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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF VIRGINIA
                             Norfolk Division

  CSX TRANSPORTATION, INC.,
  individually and on behalf
  of NORFOLK & PORTSMOUTH BELT
  LINE RAILROAD COMPANY,

                   Plaintiff,
  v.                                                   Civil No. 2:18cv530

  NORFOLK SOUTHERN RAILWAY COMPANY,
  and

  NORFOLK & PORTSMOUTH BELT LINE
  RAILWAY COMPANY,

                   Defendants.



                              OPINION AND ORDER

        This matter is before the Court on a motion to dismiss/motion

  for judgment on the pleadings/motion to refer filed by Defendant

  Norfolk Southern Railway Company (“NSR”) prior to the close of

  discovery (and prior to the lengthy COVID-19 stay previously

  imposed in this case).        ECF No. 115.      As of the date of this

  Opinion and Order, discovery is now closed and summary judgment

  motions were recently filed by NSR and Norfolk & Portsmouth Belt

  Line Railway Company (“Belt Line”).          A jury trial is currently

  scheduled to begin on July 13, 2021, although under this Court’s

  COVID-19 operating procedures (which permitted the resumption of

  civil jury trials on May 3, 2021), regardless of the outcome of

  the instant motion, such trial date would be subject to further
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  continuance if there is not an available retrofitted courtroom to

  allow the Court to keep jurors socially distanced throughout all

  stages of the jury trial process.

        The relevant background of the case is set forth in greater

  detail in this Court’s September 9, 2019 Opinion and Order.                         ECF

  No. 66.     In short, Plaintiff CSX Transportation, Inc. (“CSX”)

  alleges    that    Defendants    NSR    and     Belt      Line    committed    federal

  antitrust     violations,       state     law        conspiracy        offenses,    and

  contractual breaches associated with the manner in which Belt Line,

  a company jointly owned by NSR and CSX, was operated.                          For the

  reasons set forth below, NSR’s motion is DENIED in part, and

  GRANTED in part, as the Court refers one disputed issue to the

  U.S. Surface Transportation Board (“STB”).

                                   I. Background

        NSR’s motion challenges the jurisdiction of this Court, seeks

  judgment    on    the   pleadings    based      on    a   claim    of   immunity,    or

  alternative to both requests, asks this Court to refer two issues

  to the STB.       It should be noted at the outset that: (1) both Belt

  Line and NSR previously filed timely motions to dismiss in this

  case, ECF Nos. 27, 34; (2) Belt Line’s prior motion advanced a

  related,    though      not    identical,       challenge         to    this   Court’s

  jurisdiction,       with      such     earlier-in-time            challenge     deemed

  “meritless” by this Court, ECF No. 66, at 20; (3) NSR did not

  previously challenge this Court’s jurisdiction or otherwise raise

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  an immunity defense—to the contrary, NSR previously acknowledged

  its inability to reach “some averments in the Complaint as to the

  federal   antitrust    claims,”   ECF    No.   35,   at   3,   and   conceded

  jurisdiction over such claims, ECF No. 69 ¶ 11; and (4) NSR did

  not previously request a transfer to the STB for the purposes of

  addressing    an   immunity   defense    or    determining     a   reasonable

  “switching rate” for use of Belt Line’s tracks.

        NSR now asserts that it is immune from federal antitrust laws

  and state conspiracy laws with respect to its relationship with

  Belt Line not because of any recent developments in the case, or

  new facts learned during discovery, but rather, on the ground that

  NSR has been immune from such claims for decades based on a railway

  consolidation/merger occurring in 1982.           While this Court again

  finds that it has jurisdiction over this case, and has reservations

  regarding the validity of such immunity defense, the Court will

  refer the immunity issue to the STB in light of its expertise

  regarding the process and scope of railroad company mergers.

                        II. Jurisdictional Challenge

        NSR first contends that this Court lacks jurisdiction over

  this case and thus seeks dismissal under Rule 12(b)(1).              Because

  a Rule 12(b)(1) motion can be filed at any time, NSR contends that

  its motion, filed long after this Court denied the original round

  of Rule 12(b) motions, is timely.



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          In support of its jurisdictional challenge, NSR argues, among

  other things, that the parties’ dispute arises out of a railway

  consolidation/merger, and that the STB, formerly the Interstate

  Commerce         Commission      (“ICC”):    (1)   has       exclusive     authority      to

  approve mergers between rail carriers; and (2) that carriers

  participating in an approved merger are “exempt” from antitrust

  laws       and   other    laws    “as    necessary      to   .   .   .   carry     out   the

  transaction.”            ECF No. 116, at 8 (emphasis omitted); accord 49

  U.S.C. § 11321(a). 1          While the Court agrees with NSR’s recitation

  of the law, the STB’s exclusive authority over rail carrier mergers

  implicates the doctrine of “primary jurisdiction,” which—despite

  its name—is not “jurisdictional.”                  Importantly, “[d]espite what

  the term [primary jurisdiction] may imply, [it] does not speak to

  the    jurisdictional         power     of   the   federal       courts.      It       simply

  structures the proceedings as a matter of judicial discretion, so

  as to engender an orderly and sensible coordination of the work of

  agencies and courts.”              Envt’l Tech. Council v. Sierra Club, 98

  F.3d 774, 789 n.24 (4th Cir. 1996) (second and third alterations

  in original); see Stevens v. Bos. Sci. Corp., 152 F. Supp. 3d 527,

  533 (S.D.W. Va. 2016) (explaining that the name of such doctrine

  “is    a    misnomer”).          The    doctrine   is    applicable       when     a   claim

  cognizable in federal court “requires the resolution of issues




  1   49 U.S.C. § 11321 was previously codified at 49 U.S.C. § 11341.

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  which, under a regulatory scheme, have been placed within the

  special competence of an administrative body,” thus causing a

  district court to suspend the judicial process “pending referral

  of [specific] issues to the administrative body for its views.”

  United States v. W. Pac. R.R. Co., 352 U.S. 59, 64 (1956); see

  Mulberry Hills Dev. Corp. v. United States, 772 F. Supp. 1553,

  1561    (D.   Md.   1991)    (explaining      that   a    district   court     should

  “refrain from exercising its judicial power so that an agency

  particularly        equipped    to    address    issues      and     charged    with

  regulatory       duties      within   its     expertise       may    perform      its

  functions”).

          Here, notwithstanding NSR’s arguments to the contrary, this

  Court has jurisdiction over the federal antitrust claims in this

  case, and has supplemental jurisdiction over the related state law

  claims.       NSR’s   Rule     12(b)(1)   motion     to    dismiss   for   lack   of

  jurisdiction is therefore DENIED.

           III. Rule 12(c) Dismissal or STB Referral - Immunity

          NSR next argues that this Court should dismiss this matter on

  the pleadings pursuant to Rule 12(c) based on NSR’s statutory

  immunity.       Plaintiff challenges the timeliness of such argument,

  contending that NSR’s argument seeking dismissal: (1) should have

  been advanced as a Rule 12(b)(6) motion and was filed many months

  after     the    12(b)(6)      deadline;      (2) contradicts        NSR’s     prior

  jurisdictional position; (3) duplicates Belt Line’s prior failed

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  jurisdictional challenge, thereby conflicting with the “law of the

  case”; and (4) is unripe to the extent it separately asserts that

  certain potential remedies would invade the province of the STB’s

  exclusive jurisdiction.      ECF No. 131, at 2-4.      NSR and Belt Line

  each counter that NSR’s arguments in support of dismissal differ

  from Belt Line’s prior arguments in that they rely on a different

  statutory provision (49 U.S.C. § 11321), ECF Nos. 132, 138, with

  NSR again noting that jurisdiction can be challenged at any time.

        First, to the extent NSR argues that its Rule 12(c) motion to

  dismiss   is   timely   and/or   meritorious   based   on   jurisdictional

  grounds, the Court rejects such claim without further analysis for

  the same reasons set forth above.        Second, as outlined below, to

  the extent NSR is seeking a Rule 12(c) dismissal, or alternatively,

  referral to the STB based on § 11321(a) immunity, the Court finds

  that although such claim was “delayed,” it is not fatally untimely,

  and while dismissal is not appropriate, the request for referral

  to the STB on the immunity issue has merit.         Third, to the extent

  NSR seeks a referral to the STB for a rate setting determination,

  such request is denied at this time for the same reasons this Court

  previously concluded that it has authority to grant monetary and

  injunctive relief in this case.

                          A. Timeliness of Motion

        As to the timeliness of the immunity defense, CSX accurately

  highlights the fact that NSR’s pending motion was filed during

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  discovery and several months after the original round of Rule 12(b)

  motions was resolved by the Court.         NSR fails to demonstrate why

  it did not raise such immunity defense earlier in the case, 2 or

  why it appeared to previously concede that it had no valid basis

  to challenge the federal antitrust claims at that stage of the

  case.     The delayed timing of NSR’s immunity claim is especially

  notable because the defense is predicated on a merger that has at

  all times been within NSR’s knowledge.

          Notwithstanding NSR’s delay, NSR appears correct both that

  CSX’s complaint does not include the facts on which NSR bases its

  immunity defense 3 and that the          motion, filed sufficiently in

  advance of the scheduled trial date, is timely under Rule 12(c).

  See Fed. R. Civ. P. 12(c) (“After the pleadings are closed--but

  early enough not to delay trial--a party may move for judgment on

  the pleadings.”); Fed. R. Civ. P. 12(h)(2) (indicating that failure


  2  While NSR’s Answer advances three affirmative defenses mentioning
  “immunity,” none of these three theories is predicated on § 11321(a). ECF
  No. 69. CSX does not squarely assert a pleading error in response to the
  pending Rule 12(c) motion, although CSX does contend that NSR’s motion has
  little relation to its answer. See ECF No. 131, at 3.
  3 The complaint broadly references “mergers and acquisitions” over many
  decades involving multiple railways, ECF No. 1 ¶¶ 2, 21; however, it does
  not appear to discuss the 1982 merger, the ICC/STB’s approval of it, or the
  fact that as of 1989, two of the three railway companies with an ownership
  interest in Belt Line were affiliates under common ownership due to the 1982
  merger.   NSR’s answer filled in the necessary facts regarding the 1982
  merger and 1989 common ownership. ECF No. 69 ¶ 2. In fact, long prior to
  the filing of the answer, NSR reported such facts to the Court in its brief
  in support of its original dismissal motion, to include citing the STB’s
  consolidation ruling. Norfolk S. Corp.—Control—Norfolk & W. Ry. Co. & S.
  Ry. Co., 366 I.C.C. 171 (1982). Accordingly, it appears that NSR could have
  asked the Court to take judicial notice of the consolidation and argued its
  immunity defense at the outset of this case.

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  to state a claim can be raised in a Rule 12(c) motion or even at

  trial); see also 5C Wright & Miller, Federal Practice and Procedure

  § 1368 (3d ed. Apr. 2021 update) (“[C]ourts typically will construe

  . . . a late Rule 12(b) motion, or a Rule 12(b) motion that

  implicates affirmative defenses, as if it were brought under Rule

  12(c).”). 4   Similarly, NSR’s request seeking a stay and referral

  to the STB, while delayed, is not “untimely” under any applicable

  rule or practice argued by CSX. 5

         In the absence of a procedural bar to NSR’s motion to dismiss

  or refer, the Court addresses the merits of such motion, further

  noting that this Court clearly has the authority (and potentially

  the obligation) to refer appropriate matters to the STB.            Although

  the   COVID-19   pandemic   and   associated    stays   requested    by   the

  parties—followed by the continued effects of the pandemic on Court


  4  The   most   relevant   non-public    evidence   in   support   of   NSR’s
  dismissal/referral motion appears to be the consolidation/merger application
  that NSR attached as an exhibit to such motion. ECF No. 116-5. CSX does
  not challenge this exhibit as a matter that is not integral to the pleadings,
  nor is its authenticity challenged. Accordingly, there does not appear to
  be a procedural obstacle to considering such document in conjunction with
  NSR’s motion. Goines v. Valley Cmty. Servs. Bd., 822 F.3d 159, 166 (4th
  Cir. 2016). Moreover, even if there is such an obstacle in conjunction with
  NSR’s Rule 12(c) request for dismissal, the Court is unaware of any similar
  obstacle to the extent that NSR seeks referral to the STB.
  5 Under the doctrine of “primary jurisdiction,” the Court has the authority
  to make its own discretionary determination to refer a matter to the STB in
  order to “promot[e] proper relationships between the courts and
  administrative agencies.” W. Pac. R.R. Co., 352 U.S. at 63; see Stevens,
  152 F. Supp. 3d at 534 (explaining that the Court can “invoke the doctrine
  [of primary jurisdiction] sua sponte”). Therefore, even though the doctrine
  of primary jurisdiction may be “waivable” in certain circumstances, CSX
  Transp., Inc. v. Transp.-Commc’ns Int’l Union, 413 F. Supp. 2d 553, 564 (D.
  Md. 2006), this Court also has discretion to consider a referral to the STB
  with or without a motion from the parties.

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  operations    and   litigation   in   this   District—have   delayed    the

  Court’s resolution of NSR’s motion, as explained below, the Court

  nevertheless finds that the best course is to temporarily stay

  this federal action pending referral of the immunity issue to the

  STB as such issue is potentially dispositive of nearly all claims

  for relief.

                      B. Merits of Dismissal/Referral

                           1. Factual Background

        Briefly reciting the most relevant facts associated with the

  1982 consolidation/merger that forms the basis of NSR’s immunity

  defense, in December of 1980, NWS Enterprises, Inc. (“NWS”) filed

  an application with the ICC to control two existing railways,

  Norfolk and Western Railway Company (“NW”) and Southern Railway

  Company (“SR”).     ECF No. 116-5.    Shortly thereafter, the ICC filed

  a notice in the Federal Register describing the transaction as

  involving “the acquisition of control, through stock ownership of

  NW and its subsidiary companies and of SR and its consolidated

  system companies, by NWS, a newly incorporated non-carrier holding

  company.”     NWS Enters.; Application To Control Norfolk & W. Ry.

  Co. and S. Ry. Co., 46 FR 173-02, at 174, 1981 WL 109712 (Jan. 2,

  1981) (emphases added).      “The rail carrier subsidiaries of NW and

  the SR consolidated system carriers are set forth in the appendix”

  of the notice, with the appendix listing nearly fifty subsidiaries.

  Id. at 176.      Notably absent from such list of subsidiaries is

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  defendant Belt Line.       The acquisition by the newly formed holding

  company    was   not    technically   considered   a   “merger,”     although

  “certain operating efficiencies among the carriers” were proposed,

  and the carriers that would be owned by NWS would “continue to

  operate . . . over the lines described [in the notice], subject to

  certain abandonments and coordinated operations described in the

  application.”     Id. (emphasis added).     No coordination with respect

  to Belt Line was mentioned in the application.

        Approximately a year later, the STB published a lengthy

  decision    authorizing     Norfolk   Southern   Corporation   (“NSC”) 6   to

  acquire “control . . . of Norfolk and Western Railway Company and

  its subsidiary companies and of Southern Railway Company and its

  consolidated companies . . . subject to conditions.”            Norfolk S.

  Corp.—Control—Norfolk & W. Ry. Co. & S. Ry. Co., 366 I.C.C. 173,

  173, 1982 WL 28414 (1982). Such decision again listed the numerous

  NW and SR subsidiary companies, which again did not include Belt

  Line, and further approved “[a]cquisition of a line of railroad

  and   of   certain     trackage   rights   incorporated   in   the   primary

  application.”     Id. at 173, 255-57.        No mention was made of NSC

  acquiring control over Belt Line or the trackage rights controlled

  by Belt Line.          The decision did, however, note the statutory




  6 It appears that the holding company being created to “control” both NW and
  SR was initially going to be NWS, but was ultimately named NSC. NSC is
  NSR’s predecessor.

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  polices of “recent rail reform legislation,” which included an

  emphasis on the retention of competition.           Id. at 190.

         The   Rule    12(c)   record     suggests   that,   after   the   1982

  consolidation, the Belt Line partnership continued to operate

  under its plan of shared governance, with Belt Line’s Board of

  Directors continuing to be appointed by CSX, NW, and SR.             ECF No.

  1-3.    In 1989, CSX, NW, and SR signed an agreement to modify the

  number of directors appointed by each company such that NW and SR

  (both owned by NSC) would collectively appoint three directors,

  with the parties also agreeing that no other provision of the 1897

  Belt Line Agreement would be amended, altered, or affected. 7

                                   2. Discussion

         “Congress has vested with the STB, ‘the exclusive authority

  to     examine,     condition,    and    approve   proposed   mergers     and

  consolidations.’”        CSX Transp., Inc. v. Transp.-Commc’ns Int’l

  Union, 413 F. Supp. 2d 553, 562 (D. Md. 2006) (quoting Norfolk &

  W. Ry. Co. v. Am. Train Dispatchers Ass’n, 499 U.S. 117, 119

  (1991)).     Critical to the instant dispute, the Interstate Commerce



  7 According to the parties, NW and SR merged in 1990, and the number of Belt
  Line board members was amended again at some point after such merger. While
  not critical to the Court’s analysis, the Court notes for context that it
  appears from public records that the 1990 merger occurred pursuant to the
  “corporate family” exemption such that STB approval of such merger was not
  required, with the STB reporting in early 1991 that a notice of exemption
  had been filed, further indicating that such transaction would “not result
  in . . . a change in the competitive balance with carriers outside the
  corporate family.” 56 Fed. Reg. 1541-03, 1991 WL 310251 (Jan. 15, 1991).
  It was at that time that the newly merged company was renamed “Norfolk
  Southern Railway [C]ompany.” Id.

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  Act   provides     that   “[a]    rail   carrier,    corporation,    or      person

  participating in [an] approved . . . transaction is exempt from

  the antitrust laws and from all other law, including State and

  municipal law, as necessary to let that rail carrier, corporation,

  or person carry out the transaction, . . . and exercise control or

  franchises acquired through the transaction.” 49 U.S.C. § 11321(a)

  (emphases    added).       “The    purpose    of    this   provision,   and     the

  exemption from antitrust and other laws that it provides, is to

  ensure that efforts to merge and consolidate are not obstructed,

  and that merger efficiencies can be achieved.”              CSX Transp., Inc.,

  413   F.   Supp.    2d    at   562-63    (emphases     added)   (citing      Train

  Dispatchers Ass’n, 499 U.S. at 133).               The Supreme Court has held

  that the exemption from “all other law” extends to cover “any

  obstacle imposed by law,” including certain contracts, as long as

  “an    ICC-approved       transaction     requires     abrogation”      of     such

  obligations.     Train Dispatchers Ass’n, 499 U.S. at 132-33.

        While the Supreme Court has not expressly defined the contours

  of “necessity” in this context, a district court in this circuit

  has squarely addressed the issue, explaining as follows:

        The preclusive powers of the [Interstate Commerce Act]
        are not unlimited. As the Supreme Court noted in Train
        Dispatchers, exemption from other laws is only allowed
        when it is “necessary to carry out an ICC-approved
        transaction.”      499   U.S.   at   132–33   (emphasis
        added). . . .

        Although the Supreme Court did not define the term
        “necessary” in Train Dispatchers, the ICC has stated

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         that the ICA super[s]edes other law where there
         otherwise will be an impediment to the merger.       CSX
         Corp.—Control—Chessie Sys., Inc., and Seaboard Coast
         Line Indus., Inc., 8 I.C.C. 2d 715, 721–22, 1992 WL
         206172 (1992) (“[T]he necessity predicate is satisfied
         by a finding that some ‘law’ (whether antitrust, RLA, or
         a collective bargaining agreement formed pursuant to the
         RLA) is an impediment to the approved transaction. In
         other words, the necessity predicate assures that the
         exemption is no broader than the barrier which would
         otherwise stand in the way of implementation.”).

  CSX Transp., Inc., 413 F. Supp. 2d at 568-69.          The district court

  went on to highlight the fact that the plaintiff in that case

  failed to demonstrate that a post-merger dispute over where certain

  railroad clerical work was to be performed was a “critical factor”

  that could “impede” a long since final merger, finding that “at

  some point, the STB’s purview over a merger must end.”              Id. at

  569.     On appeal, the Fourth Circuit expressed its agreement,

  stating in a footnote that “[t]he amount of time that has passed

  since    the   approved    transaction    was    successfully    completed

  militates against our finding that the STB would have jurisdiction”

  over a labor dispute that can be traced back to the merger, noting

  that the STB’s “predecessor, the ICC, as well as the Seventh

  Circuit, has indicated that the STB’s jurisdiction over legal

  disputes related to a merger should not extend indefinitely.”           CSX

  Transp., Inc. v. Transp. Commc’ns Int’l Union, 480 F.3d 678, 685

  n.5 (4th Cir. 2007) (citing Del. & Hudson Ry. Co.-Lease & Trackage

  Rts. Exemption–Springfield Terminal Ry. Co., 8 I.C.C. 2d 839, 845,



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  1992 WL 46807 (1992); Harris v. Union Pac. R.R., 141 F.3d 740, 744

  (7th Cir. 1998)).

         The   Seventh   Circuit’s    opinion     in   Harris   is   instructive

  regarding the breadth of authority appropriately ceded to the STB

  when   post-merger     disputes    arise   in   situations    where   the   ICC

  approved a merger but said nothing, and implied nothing, about it

  being “necessary” for a certain law, contract, or other “obstacle”

  to the merger to be set aside as a barrier to the merger.              Harris,

  141 F.3d at 743–44.      The Seventh Circuit explained:

         If the Commission says that it is “necessary” for some
         law to give way, then we review its decision to determine
         whether it was arbitrary, capricious, or an abuse of
         discretion.   If the Commission implies (but does not
         quite say) that some other law had to yield, then perhaps
         a court should refer the subject to the agency under the
         doctrine of primary jurisdiction.      See Railway Labor
         Executives’ Ass’n v. United States, 987 F.2d 806, 815
         (D.C. Cir. 1993).    But if the agency says nothing, a
         post-merger   dispute   is   resolved   under   generally
         applicable laws. We added in Burlington Northern that
         “necessary”, like “all”, should be taken seriously.
         Only laws that would block the transaction give
         way. . . .

         On the railroad’s understanding of § 11341(a), the Board
         is forever in charge of all legal disputes related to a
         merger. Is the railroad liable to a brakeman injured by
         failure of a coupler on a car that came from the acquired
         corporation? Does an easement on any of the carrier’s
         rights of way survive the merger? Are the employees
         entitled to a Christmas bonus under the labor agreement?
         Some of these issues are resolved by arbitration or
         bargaining, others under state property law or the
         Safety Appliance Act.     See Norfolk & Western Ry. v.
         Hiles, 516 U.S. 400 (1996). But if the Union Pacific
         were right, everything would be up for grabs. Who can
         tell which of these laws the Commission might have
         thought incompatible with the merger?

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  Harris, 141 F.3d at 743–44 (emphasis added).         While Harris and the

  2006/2007 CSX case are instructive, those cases consider the

  necessity requirement in the context of ensuring the absence of an

  obstacle to “carry[ing] out the transaction,” as contrasted with

  the portion of § 11321(a) addressing the need to “exercise control

  or franchises acquired through the transaction.”

        Here, the record clearly reveals that the ICC/STB said nothing

  about setting aside any state or federal law as an impediment to

  the 1982 consolidation with respect to Belt Line, 8 and in fact,

  said nothing about Belt Line in any respect.             Notably, as CSX

  argues, Belt Line is not included on the lengthy list of subsidiary

  companies in the appendix to the public notice that would be

  controlled by NSW/NSC if the consolidation was approved.                The

  record further suggests that the 1982 consolidation “applicants”

  never asked the ICC/STB to authorize “control” over Belt Line, 9

  with the proposed consolidation plan stating as follows:


  8 NSR does not argue in its motion that, post-consolidation, it should also
  be freed from its contractual obligations set forth in the 1897 Belt Line
  Agreement. This may be because the contract was re-ratified after 1982, or
  it may be because NSR recognizes that setting aside the contract is not
  “necessary” to the success of the merger. See City of Palestine v. United
  States, 559 F.2d 408, 415 (5th Cir. 1977) (“Congress allowed the ICC
  significant power to effectuate approved transactions, but it did not
  authorize gratuitous destruction of contractual relations even when it
  serves the general public interest when the destruction is irrelevant to
  the success of approved transactions.”) (emphasis added). Regardless of
  the reason, such issue is not before this Court.
  9 Belt Line was listed by the applicants in an appendix to the application
  as an entity that NW, SR, and an SR subsidiary each held an ownership
  interest in, with the collection of these interests totaling to 57.14

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        (1) The proposed transaction involves Interstate
        Commerce Commission (Commission) authorization under
        Section 11343 et seq. of the Interstate Commerce Act (49
        U.S.C. § 11343 et seq.) for NWS Enterprises, Inc. (NWS),
        a newly-incorporated non-carrier holding company, to
        acquire control through stock ownership of Norfolk and
        Western Railway Company (NW) and its subsidiary carrier
        companies, and of Southern Railway Company (Southern)
        and its consolidated system companies (collectively SR).

        (2) As a result of the proposed transaction, NWS will
        also acquire indirect control through stock ownership of
        all subsidiaries of NW and Southern, including Southern
        Region Motor Transport, Inc. (SRMT), a motor carrier
        subsidiary of a wholly owned rail carrier subsidiary of
        Southern.

        (3) By this application NWS is seeking Commission
        authorization under § 11343 to acquire control of NW and
        SR.

        (4) The proposed transaction involves the acquisition of
        control through stock ownership of Norfolk and Western
        Railway Company and its subsidiary companies, and of
        Southern Railway Company and its consolidated system
        companies,   by   NWS  Enterprises,   Inc.,   a   newly-
        incorporated non-carrier holding company.

        (5) Applicants respectfully submit that the transactions
        proposed herein are in full accordance . . . with the
        statutory criteria set forth in the Interstate Commerce
        Act (49 U.S.C. §§ 11343-11347) . . . [and] Applicants
        respectfully request that the Commission make the
        following findings with respect thereto:

             In Finance Docket No. 29430 (Sub-No. 1), that the
        following transactions are within the scope of 49 U.S.C.
        § 11343; are consistent with the public interest;
        reflect terms and conditions which are just and

  percent. ECF No. 116-5, at 77. The seventeen-page chart that included Belt
  Line among over 150 other companies was provided to the ICC in response to
  a regulatory requirement that the applicants list the “measure of control
  or ownership exercised by Applicants over other carriers,” ECF No. 116-5,
  at 77. It was not, therefore, a chart listing entities that NSC requested
  control over as part of the transaction.      While such chart was not a
  “request” for control, it appears to illustrate that majority stock
  ownership of Belt Line would result from consolidation.

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        reasonable . . . and will have no adverse impact upon,
        but rather will enhance competition among rail carriers
        in the affected region:

              [●] acquisition by NWS Enterprises, Inc., of
              control of Norfolk and Western Railway Company
              and its carrier subsidiaries, and of Southern
              Railway Company and its consolidated system
              companies . . . .

  ECF No. 116-5, at 4-5, 15, 19, 35-36 (emphases added).           The second

  item listed above appears significant to the Court as it indicates

  that NWS/NSC provided an express notice that it would acquire

  “indirect control” over a motor carrier “as a result” of the

  proposed transaction, and it discussed such “control” and the

  further permissions that were required.          NSR does not highlight

  any similar reference in the application stating that NWS/NSC was

  seeking approval of “indirect control” over Belt Line because the

  combination of stock held by three different NSW/NSC subsidiaries

  would,   post-consolidation,     amount   to   more   than   a   50   percent

  ownership interest in Belt Line. 10

        The above facts, as interpreted by the Court, provide support

  for CSX’s position that it is appropriate to draw a distinction

  between a transaction that led to NSR amassing a slight majority

  ownership position in Belt Line (a cooperative partnership formed

  to serve the interests of all owners), and a transaction involving



  10 The detailed STB authorization ruling broadly indicates that the STB
  considered the anticompetitive effects of the consolidation, Norfolk S.
  Corp.—Control, 366 I.C.C. at 190-91, 227-29; however, there is no
  indication, one way or the other, that Belt Line was part of such analysis.

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  the STB “approving” NSR to control Belt Line such that NSR was

  immune from antitrust/conspiracy law, thus freeing NSR (at least

  under such laws) to leverage its ownership of NW and SR in a

  coordinated effort to harm CSX.           The concern about coordination

  purportedly designed to harm CSX is especially acute in light of

  the fact that Belt Line is, by design, a separate corporate entity

  with a mission of operating for the collective good of all owner

  railways. 11

         The   consolidation    documents   before   the   Court 12   therefore

  suggest that the STB did not “announce” that NSC would control

  Belt Line, and it certainly did not announce that NSC was exempt

  from federal antitrust laws or state conspiracy laws.           However, as

  to the latter point, the STB and federal courts have repeatedly

  held that § 11321 is not predicated on the agency “announcing that

  a    particular   exemption    is   necessary”;    rather,    the    immunity




  11As discussed in the Court’s prior Opinion and Order, ECF No. 66, at 3-4,
  the 1897 Belt Line Agreement was originally executed by eight different
  railroad companies, ECF No. 1-1. “[E]ach of the Companies . . . desire[d]
  to secure the construction of a Belt Line Railroad” in Virginia “for the
  mutual benefit of each in the interchange of business” with all companies
  agreeing that it was “for the best interest of all” that the Belt Line
  Railroad “be constructed, maintained and operated under a separate
  organization in which all are to be equally interested and each to have an
  equal representation.” ECF No. 1-1, at 3 (emphases added). The written
  agreement further provided that the named companies “will co-operate
  cordially in encouraging the business of the [newly formed] Railroad
  Company, for which it is constructed.” Id. at 6 (emphasis added). Thus,
  there may not be the same “necessity” to control Belt Line as compared to
  a “typical” subsidiary beholden to the majority owner.
  12 The Court has only been provided “Volume 2/2A” from the consolidation
  application.

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  exemption is “self-executing.”       Consol. Coal Sales Co. v. Consol.

  Rail Corp., 2002 STB Lexis 317, at *9-10 (S.T.B. May 23, 2002)

  (quoting ICC     v.   Locomotive   Eng’rs,   482    U.S.    270,    298   (1987)

  (Stevens, J., concurring)); see Soo Line R.R. Co. v. Consol. Rail

  Corp., No. 2:17cv106, 2018 WL 1566816, at *7 (N.D. Ind. Mar. 29,

  2018) (“The statute makes the exemption self-executing whenever

  necessary to carry out an STB-approved transaction.”); CSX Corp.—

  Control—Chessie Sys., 8 I.C.C. 2d at 723 n.12 (same).

        While CSX acknowledges that the STB “approved” a transaction

  that resulted in NSC amassing a 57 percent ownership interest in

  Belt Line and obtaining the right to appoint the majority of Belt

  Line’s Board of Directors, CSX argues that such occurrence is not

  the same as the STB approving “control.”            In this Court’s view,

  the strongest support for such argument is that NSW/NSC did not

  request “control” over Belt Line in its application, the STB did

  not announce that Belt Line would be controlled in the public

  “notice” of the application, nor did the STB announce that such

  control    was   authorized   in   its    approval.         While   the    Court

  acknowledges that the STB need not “announce” that the self-

  executing    immunity    exemption    applies      to   a   specific      merger

  transaction, this Court is unaware of any STB decision or other

  precedent suggesting that STB notices do not even need to identify

  the companies over which control is being requested and authorized.

  Cf. 49 U.S.C. § 11344(a) (1982) (indicating that an application

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  for control requires the Commission to “notify those carriers”

  involved in the proposed transaction). 13

        Notwithstanding CSX’s facially strong position regarding the

  absence of evidence of STB authorization of “control,” CSX’s

  position appears weakest when it argues that 57 percent ownership

  coupled with the ability to dominate the board of directors does

  not constitute “control” under STB precedent.           While the parties

  agree that the concept of “control” is fact-based and varies with

  the circumstances, NSR effectively highlights CSX’s inability to

  point to any ICC/STB decision finding that majority stock ownership

  coupled with an ability to appoint more than half of a board of

  directors can be interpreted as anything other than “control” over

  a subsidiary railway.      ECF No. 138, at 9-10.      Although addressing

  a slightly different issue, this Court has located a previous STB

  ruling that is relevant to the instant dispute.             In CSX’s favor,

  the STB’s analysis confirms that other facts relevant to “control”

  still must be analyzed on a case-by-case basis even when a railway

  owns more than half of the stock of another railway.              In NSR’s

  favor, the STB’s analysis appears to put significant emphasis on

  the   ability   to   control   the   board   of   another   railway.    See

  Brotherhood of Ry. & Airline Clerks v. Burlington N. Inc., 671



  13The “Historical and Revision” notes to 49 U.S.C. § 11344 indicate that
  subsection (a) was revised prior to 1982 to eliminate the need to also
  notify the applicant “since the applicant is on notice by filing the
  application.” Section 11344 has been replaced by 49 U.S.C. § 11324.

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  F.2d 1085, 1090 (8th Cir. 1982) (recounting the respondents’

  arguments that “terminal and switching railroads are not subject

  to control by any one carrier, but are more properly viewed as

  ‘partnerships’ in which no one partner has the ability to control

  the destiny of the corporation” and that “the inherent nature of

  the companies and of the service they provide makes control by any

  one carrier impossible,” but remanding such issue to the STB based

  on an incomplete record); Burlington N., Inc.—Control & Merger—

  St. Louis-San Francisco Ry. Co., 366 I.C.C. 862, 866 & Appx. C,

  1983   WL   28006   (1983)   (finding,    on   limited   remand,   that:   (1)

  Burlington Northern did not control various terminal and switching

  companies in which it owned less than, or exactly, a 50 percent

  interest and had an inability to dominate the board of directors;

  but (2) a “switching railway” and a “bridge railway” in which

  Burlington Northern held “an ownership interest in excess of 50

  percent,” and had an ability to dominate the board, among other

  facts demonstrating integration, were “under the direct control

  and management” of Burlington Northern); cf. 49 U.S.C. § 10102(3)

  (“‘[C]ontrol’, when referring to a relationship between persons,

  includes actual control, legal control, and the power to exercise

  control,     through    or    by   (A)    common    directors,     officers,

  stockholders, a voting trust, or a holding or investment company,

  or (B) any other means.”); Union Pac. Corp., Union Pac. R.R. Co.

  & Mo. Pac. R.R. Co.—Control—Chicago & N. W. Holdings Corp. &

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  Chicago & N. W. Transp. Co., 9 I.C.C. 2d 939, 947 (I.C.C. Sept.

  17, 1993) (“In determining whether one person controls another,

  the Commission has rejected any arbitrary formula based upon

  percentage of stock ownership, and instead, [has] looked to a

  number   of    additional    factors,        including      distribution   of   the

  remaining stock, the ability to elect directors and otherwise

  control or influence decision-making machinery, and the existence

  of management, marketing, operating and financial ties.”).

        In light of all of the above, this Court finds that the STB

  is the proper authority to clarify the contours of the 1982

  consolidation at issue in this case.                 The Court acknowledges the

  apparent uniqueness of remanding an issue to the STB four decades

  after    a    railway   consolidation         was    finalized.    However,     the

  alternative is for this Court to re-evaluate the details of the

  very same forty-year-old railway merger and determine what was

  requested,     noticed,     and   approved      by    the   ICC/STB   during    the

  administrative consolidation process.               While precedent makes clear

  that the STB should generally not retain jurisdiction many years

  after a merger is complete with respect to new contracts, new

  factual developments, or new legal disputes that are tangentially

  related to a long-finalized merger, CSX Transp., Inc., 480 F.3d at

  685 n.5; Harris, 141 F.3d at 744, 14 the dispute in this case is



  14But see CSX Corp.-Control-Chessie Sys., 8 I.C.C. 2d at 724 n.14 (noting
  that, in appropriate circumstances, “operational changes” made eight years

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  distinguishable from the labor dispute cases cited by CSX that are

  based on changing operations after a merger is completed.                     Here,

  there is not a new legal dispute tangential to the merger, but a

  dispute germane to the consolidation itself, with the genesis of

  the   dispute    grounded   in    the   ICC/STB    merger    procedure    and    an

  associated factual dispute regarding the scope of what was actually

  approved/authorized by the ICC/STB in 1982.                  See Envt’l Tech.

  Council, 98 F.3d at 789 (noting that the purpose of the primary

  jurisdiction doctrine is “taking advantage of agency expertise and

  referring issues of fact not within the conventional experience of

  judges or cases which require the exercise of administrative

  discretion”);      Ry. Lab. Execs.’ Ass’n v. S. Pac. Transp. Co., 7

  F.3d 902, 906 (9th Cir. 1993) (indicating that the ICC “should

  have exclusive authority to clarify the scope of its own approval

  and the corresponding breadth of the section 11341(a) exemption”);

  AT&T Commc’ns, Inc. v. Consol. Rail Corp., 285 F. Supp. 2d 649,

  662 (E.D. Pa. 2003) (denying a dismissal motion, but granting a

  motion to stay a portion of the case and refer an issue to the STB

  because: (1) “the issue of whether the § 11321(a) exemption applies

  to    an   STB-authorized        transaction      is   within      the   agency’s

  jurisdiction”; and (2) “the STB possesses the expertise necessary

  to    resolve”   the   dispute     because     “the    STB   has    studied     the



  after a “Commission-approved merger” were causally tied to the merger
  itself).

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  Transaction; entertained public comment, hearings, and arguments

  on the Transaction; and memorialized its approval in a lengthy,

  detailed document”); cf. CSX Corp.-Control-Chessie Sys., 8 I.C.C.

  2d at 722–23 (“The appropriate tribunal to determine whether the

  proposed change in the status quo is directly related to and grows

  out   of,   or   flows   from,     a   specifically    authorized      principal

  transaction is this Commission, or the arbitrator acting pursuant

  to the Commission’s authority.”).             Referring back to the analysis

  in Harris, if, as NSR asserts, the STB did approve NSC’s “control”

  over Belt Line in 1982, such approval at least “implie[d] (but

  d[id] not quite say) that [antitrust/conspiracy] law[s] had to

  yield,” thereby rendering it appropriate for this Court to “refer

  the   subject    to   the    agency      under   the   doctrine   of    primary

  jurisdiction.”     Harris, 141 F.3d at 743.

        In addition to the open question regarding authorization of

  “control,” the Court notes the lack of precedent/administrative

  guidance with respect to the parties’ competing positions as to

  whether it was “necessary” for NSR to be freed from antitrust and

  conspiracy laws based on the railway consolidation at issue in

  this case.    In CSX’s favor, the large-scale consolidation approved

  in 1982 appeared to have nothing to do with Belt Line such that

  NSC’s need to secure “control” over Belt Line uninhibited by

  antitrust/conspiracy        laws   was    not    necessary   to   achieve   the

  efficiencies of consolidation. See CSX Transp., Inc., 413 F. Supp.

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  2d at 562-63 (“The purpose of [§ 11321(a)], and the exemption from

  antitrust and other laws that it provides, is to ensure that

  efforts to merge and consolidate are not obstructed, and that

  merger    efficiencies            can    be   achieved.”)   (emphases      added);    CSX

  Corp.—Control—Chessie Sys., 8 I.C.C. 2d at 721 (“[T]he ‘necessity’

  predicate is satisfied by a finding that some ‘law’ . . . is an

  impediment to the approved transaction.”).                     Moreover, it appears

  from the current record that Belt Line may have successfully

  operated     as        a    collective/partnership          for    years    after    the

  consolidation, further suggesting that it was not “necessary” to

  allow NSR to dominate Belt Line in the same way that a parent

  company often controls a “typical” subsidiary.                       However, on the

  other    side     of       the    equation,    if,   post-consolidation,       the   STB

  classifies      Belt        Line    as    a   “franchise”    acquired      through   the

  transaction,       and       if    NSC    “acquiring”   Belt      Line   was   in    fact

  “approved” by the STB in 1982, then it is arguably “necessary”

  under the scheme implemented by Congress and the STB to permit

  NSC/NSR to exercise its majority control over its newly acquired

  subsidiary free from the confines of antitrust or state conspiracy

  law.     See 49 U.S.C. § 11321(a). 15                In light of such conflicting


  15 The scope of the statutory phrase “control or franchises” is a matter
  that would benefit greatly from a consistent application as would occur
  through consideration by the STB in the first instance, as contrasted with
  a district-by-district evaluation by judges less familiar with the
  controlling regulatory scheme. See Advamtel, LLC v. Sprint Commc’ns Co.,
  L.P., 125 F. Supp. 2d 800, 804 (E.D. Va. 2001) (indicating that, “[a]s an
  aid” to determine whether the doctrine of primary jurisdiction applies, the

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  defensible positions regarding a matter squarely within the STB’s

  expertise, referral to the STB is not only appropriate but arguably

  necessary.

        Summarizing the above, NSR’s motion to dismiss the antitrust

  and state conspiracy claims with prejudice is DENIED, but in light

  of the STB’s primary jurisdiction, NSR’s motion for a stay pending

  transfer     of   a   single   question   to   the   STB    regarding    the

  applicability of § 11321(a) immunity is GRANTED. 16

          IV. Rule 12(c) Dismissal or STB Referral - Remedies

        Belt Line’s original Rule 12(b) motion sought dismissal, in

  part, based on this Court’s purported lack of jurisdiction to award

  certain damages, ECF No. 28, at 11, and NSR’s current motion seeks

  dismissal and/or referral to the STB of certain matters relevant

  to damages based largely on the same theory, ECF No. 116, at 15-

  22.    Considering the timing of such motion, and considering the




  court should consider, among other things, whether the issue “involves
  technical or policy considerations within the agency’s particular field of
  expertise” and whether “there exists a substantial danger of inconsistent
  rulings,” so as to “promote[] a uniform development of law and policy in
  the areas where Congress has delegated to an administrative agency the
  authority to develop and establish national rules”).
  16A stay is appropriate notwithstanding the late stage of this case because
  the STB’s decision impacts the validity of a majority of the claims for
  relief in this case. Additionally, as argued by NSR, it appears that CSX
  could have pursued a legal challenge to the reasonableness of the Belt Line
  switching rate in a proceeding before the STB for almost ten years before
  it filed suit, as the currently-in-place switching rate was established in
  2009 and disputed by CSX as early as 2010. As discovery is complete and
  summary judgment briefing was just completed, the Court will be in a position
  to address dispositive issues and expeditiously schedule a trial after the
  STB resolves the lone issue referred to it by this Court.

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  fact that such a determination is relevant to, but not controlling

  of, certain damages and/or the injunctive relief sought in this

  case, NSR’s request is DENIED at this time.                  First, the Court

  agrees with CSX that the motion seeking dismissal/referral could

  have been brought at the time NSR filed its initial Rule 12(b)(6)

  motion,    but   as    explained   above,    such   motion    is   not    fatally

  untimely.      Second, NSR’s request for dismissal/referral appears

  somewhat duplicative of arguments in Belt Line’s earlier dismissal

  motion that have already been rejected by this Court.              See ECF No.

  66, at 21-25.      Third, contrary to NSR’s assertions, CSX’s claims

  for relief do not appear to “begin and end” with a determination

  of   whether     the    “switching   rate”    charged    by    Belt      Line   is

  “reasonable.”     Finally, a separate rate-setting proceeding before

  the STB has already been initiated, and the STB proceeding is

  currently stayed pending this Court’s resolution of the antitrust

  and conspiracy claims at issue in this case, with the STB fully

  aware of the current litigation. NSR’s motion fails to demonstrate

  the need for this Court to force the determination of a “reasonable

  rate” back to the STB at this time.            Notably, the STB setting a

  new reasonable switching rate to be in place going forward will

  not resolve the contract, conspiracy, and antitrust claims pending

  in this case, id. at 24, which center on whether anticompetitive

  and collusive conduct in the past led to an artificially inflated

  switching rate designed to block NSR’s competitors from accessing

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  Norfolk International Terminal by rail.                  Similarly, NSR fails at

  this   time    to    demonstrate      that    an   STB       re-evaluation     of   the

  reasonableness of the current switching rate would dictate what

  remedies are appropriate in this case and/or resolve whether

  antitrust      or    conspiratorial      actions     designed          to   harm    CSX

  proximately caused the establishment of such switching rate. 17

         This Court, of course, has every intention of ensuring that

  the monetary or injunctive remedies secured in this case (if any)

  are within this Court’s authority to award, and nothing in this

  Court’s ruling precludes the Court from seeking further input from

  the STB at a later time should it be deemed necessary to determine

  damages.      The Court’s decision not to refer the determination of

  a “reasonable” switching rate to the STB at this time is not

  tantamount to a finding that this Court has the authority to decide

  such a rate or to award CSX trackage rights.                      Such decision is

  also not an indication of how this Court will rule on NSR’s

  recently-filed, and still unripe, motion in limine seeking to

  exclude     evidence    and   argument        suggesting        that    Belt   Line’s

  switching rate is “unreasonable” or “excessive.”                       ECF No. 329.

  Rather, CSX alleges in this lawsuit that NSR and/or Belt Line

  committed federal and state law violations, and well as contractual

  breaches,     by    conspiring   to    manipulate        a    privately     determined


  17The current switching rate was established in 2009 without input from the
  STB, and CSX asserts that the establishment of such rate, and the maintenance
  of such rate over time, was the product of unlawful collusion.

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  switching rate for the purpose of harming CSX, and the Court finds,

  consistent with its earlier ruling, that determining liability, as

  well    as   at   least   some   remedies     associated      with   the   alleged

  liability, falls within this Court’s authority.

                                    V. Conclusion

         For the reasons outlined above: (1) NSR’s motion to dismiss

  on jurisdictional grounds is DENIED; (2) NSR’s motion to dismiss

  the antitrust and state conspiracy claims with prejudice is DENIED;

  (3)    NSR’s   motion     to   refer   to   the   STB    a   determination    of    a

  reasonable “switching rate” is DENIED at this time; and (4) in

  light of the STB’s primary jurisdiction, NSR’s motion for a stay

  pending transfer of the immunity dispute to the STB is GRANTED.

  The following discrete question is REFERRED to the STB:

         Did the 1982 consolidation, whereby NSC acquired an
         indirect 57 percent interest in Belt Line, involve the
         ICC/STB granting NSC “approval” to control Belt Line, and
         if so, did such authorized “control” render it necessary
         for antitrust and/or state conspiracy laws to yield,
         whether because Belt Line was then deemed a “franchise”
         of NSC, or for any other reason?

  After the STB rules, this Court will expeditiously resolve all

  remaining      summary    judgment     issues,    to    include   the   breach     of

  contract claim that is outside the referral to the STB.                      In the

  interim, the instant case will be STAYED. 18                  The trial date is



  18The stay does not preclude counsel from coordinating with each other, and
  the Magistrate Judge assigned to this case (to the extent the Magistrate
  Judge determines it to be appropriate) to seek a resolution of any pending
  sealing motions.

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  hereby   released,    and     counsel    are   instructed   to    contact   the

  undersigned judge’s calendar clerk to schedule a new trial date as

  soon as the STB issues its ruling.

        The Clerk is DIRECTED to forward a copy of this Opinion and

  Order    to   all   counsel    of   record     and   to   the    U.S.   Surface

  Transportation Board.

        IT IS SO ORDERED.




                                                          /s/
                                                     Mark S. Davis
                                          CHIEF UNITED STATES DISTRICT JUDGE
  Norfolk, Virginia
       18
  May ____, 2021




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